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AO 93 (Rev. 11/13) Search and Seizure Warrant (USAO CDCA Rev. 04/17)

UNITED STATES DISTRICT COURT

for the
Central District of California

In the Matter of the Search of

(Briefly describe the property to be searched or identify the
person by name and address)

Case No. 2:19-MJ-03090

A blue Toyota Solara, bearing California license
plate 6AAL105

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SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location):

See Attachment A-2

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B

Such affidavit(s) or testimony are incorporated herein by reference.

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not to exceed 14 days)
XX] in the daytime 6:00 a.m. to 10:00 p.m. [J at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office.

[1] Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.

§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

C1 for

Date and time issued: +, / Boe of Lf Pam OZy
, Judge igre

City and state: Los Angeles, CA Honorable Jacqueline Chooljian, U.S. Magistrate Judge
Printed name and title

days (not to exceed 30) [_] until, the facts justifying, the later specific date of

 

 

AUSA: Christine M. Ro x4496

 

 

 

 
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Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

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Inventory made in the presence of :'

per /USF4S

 

Inventory of the property taken and name of any person(s) seized:
"me SC. DelCrmenrs

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: 4/7 ¢/14

 

Printed name and title

 

 

 
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ATTACHMENT A-2

VEHICLE TO BE SEARCHED

 

A blue Toyota Solara, bearing California license plate
6AAL105 (the “SUBJECT VEHICLE”), which is registered to Maria

ACEVEDO, as reflected in the photograph below:

 

 
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ATTACHMENT B

I. ITEMS TO BE SEIZED

1. The items to be seized are evidence, contraband,
fruits, or instrumentalities of violations of Title 21, United
States Code, Sections 841(a) (1), (distribution and possession
with intent to distribute a controlled substance), 846
(conspiracy and attempt to distribute and possess with intent to
distribute controlled substances), and 843(b) (unlawful use of a
communication facility (including the mails) to facilitate the
distribution of a controlled substance) (the “Subject
Offenses”), namely:

a. Any controlled substances, controlled substance
analogue, or listed chemical;

b. Items and paraphernalia for the distributing,
manufacturing, packaging, or weighing of controlled substances,
including scales and other weighing devices, plastic baggies,
heat-sealing devices, vacuum-sealing devices, balloons,
packaging materials, containers, sodium sulfate, and wrapping
material;

Gs United States currency over $1,000 or bearer
instruments worth over $1,000 (including cashier's checks,
traveler’s checks, certificates of deposit, stock certificates,
and bonds) (including the first $1,000), and data, records,
documents, or information (including electronic mail, messages
over applications and social media, and photographs) pertaining

to, obtaining, possessing, using, applications for, or

 

 
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transferring money over $1,000, such as bank account records,
cryptocurrency records and accounts;

d. Items used in the packaging of currency for
consolidation and transportation, such as money-counting
machines, money wrappers, carbon paper, rubber bands, duct tape
or wrapping tape, plastic wrap or shrink wrap, and plastic
sealing machines;

e. U.S. Mail, Express Mail, Priority Mail, United
Parcel Service, Federal Express, or other private shipping
service’s delivery confirmation slips, labels, and associated
boxes (to include any packages and envelopes delivered while the
search is being conducted) ;

f Documents and records reflecting the identity of,
contact information for, communications with, or times, dates or
locations of meetings with co-conspirators, sources of supply of
controlled substances, or drug customers, including calendars,
address books, telephone or other contact lists, pay/owe
records, distribution or customer lists, correspondence,
receipts, records, and documents noting price, quantities,
and/or times when drugs were bought, sold, or otherwise
distributed, whether contained in hard copy correspondence,
notes, emails, text messages, photographs, videos (including
items stored on digital devices), or otherwise;

g. Any locked or unlocked containers, storage units,
garages (either attached or detached), safes and safety deposit

boxes belonging to the residents of the SUBJECT PREMISES either

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inside the SUBJECT PREMISES, the SUBJECT VEHICLE, or located at
the property;

h. Any materials, documents, or records that show
the identity of the person(s) controlling, occupying,
possessing, residing in, or owning the SUBJECT PREMISES,
including rental agreements, leases, rent receipts, deeds,
escrow documents, utility bills, and other mailed envelopes
reflecting the address and addressee;

i. Records, documents, programs, applications and
materials, or evidence of the absence of same, sufficient to
show call log information, including all telephone numbers
dialed from any of the digital devices and all telephone numbers
accessed through any push-to-talk functions, as well as all
received or missed incoming calls;

j. Records, documents, programs, applications or
materials, or evidence of the absence of same, sufficient to
show SMS text, email communications or other text or written
communications sent to or received from any of the digital
devices and which relate to the above-named violations;

k. Records, documents, programs, applications or
materials, or evidence of the absence of same, sufficient to
show instant and social media messages (such as Facebook,
Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),
SMS text, email communications, or other text or written
communications sent to or received from any digital device and

which relate to the above-named violations;

 
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1. Audio recordings, pictures, video recordings, or
still captured images related to the purchase, sale,
transportation, or distribution of drugs;

m. Contents of any calendar or date book;

n. Global Positioning System (“GPS”) coordinates and
other information or records identifying travel routes,
destinations, origination points, and other locations; and

oO. Any digital device which is itself or which
contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

 

 

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PA With respect to any digital device containing
evidence falling within the scope of the foregoing categories of
items to be seized:

i. evidence of who used, owned, or controlled
the device at the time the things described in this warrant were
created, edited, or deleted, such as logs, registry entries,
configuration files, saved usernames and passwords, documents,
browsing history, user profiles, e-mail, e-mail contacts, chat
and instant messaging logs, photographs, and correspondence;

ii. evidence of the presence or absence of
software that would allow others to control the device, such as
viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

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iii. evidence of the attachment of other devices;

iv. evidence of counter-forensic programs (and
associated data) that are designed to eliminate data from the
device;

v. evidence of the times the device was used;

vi. passwords, encryption keys, biometric keys,
and other access devices that may be necessary to access the
device;

vii. applications, utility programs, compilers,
interpreters, or other software, as well as documentation and
manuals, that may be necessary to access the device or to
conduct a forensic examination of it;

viii. records of or information about
Internet Protocol addresses used by the device;

ix. records of or information about the device’s
Internet activity, including firewall logs, caches, browser
history and cookies, “bookmarked” or “favorite” web pages,
search terms that the user entered into any Internet search
engine, and records of user-typed web addresses.

2. As used herein, the terms “records,” “documents,”
“programs,” “applications,” and “materials” include records,
documents, programs, applications, and materials created,
modified, or stored in any form, including in digital form on
any digital device and any forensic copies thereof.

3. As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing

data in digital form, including central processing units;

 
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desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
telephone paging devices, beepers, mobile telephones, and smart
phones; digital cameras; gaming consoles (including Sony
PlayStations and Microsoft Xboxes); peripheral input/output
devices, such as keyboards, printers, scanners, plotters,
monitors, and drives intended for removable media; related
communications devices, such as modems, routers, cables, and
connections; storage media, such as hard disk drives, floppy
disks, memory cards, optical disks, and magnetic tapes used to
store digital data (excluding analog tapes such as VHS); and
security devices.

II. SEARCH PROCEDURE FOR DIGITAL DEVICES

 

4. In searching digital devices or forensic copies
thereof, law enforcement personnel executing this search warrant
will employ the following procedure:

a. Law enforcement personnel or other individuals
assisting law enforcement personnel (the “search team”) will, in
their discretion, either search the digital device(s) on-site or
seize and transport the device(s) and/or forensic image(s)
thereof to an appropriate law enforcement laboratory or similar
facility to be searched at that location. The search team shall
complete the search as soon as is practicable but not to exceed
120 days from the date of execution of the warrant. The
government will not search the digital device(s) and/or forensic
image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

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b. The search team will conduct the search only by
using search protocols specifically chosen to identify only the
specific items to be seized under this warrant.

i. The search team may subject all of the data
contained in each digital device capable of containing any of
the items to be seized to the search protocols to determine
whether the device and any data thereon falls within the list of
items to be seized. The search team may also search for and
attempt to recover deleted, “hidden,” or encrypted data to
determine, pursuant to the search protocols, whether the data
falls within the list of items to be seized.

ii. The search team may use tools to exclude
normal operating system files and standard third-party software
that do not need to be searched.

iii. The search team may use forensic examination
and searching tools, such as “EnCase” and “FTK” (Forensic Tool
Kit), which tools may use hashing and other sophisticated
techniques.

c. If the search team, while searching a digital
device, encounters immediately apparent contraband or other
evidence of a crime outside the scope of the items to be seized,
the team shall immediately discontinue its search of that device
pending further order of the Court and shall make and retain
notes detailing how the contraband or other evidence of a crime
was encountered, including how it was immediately apparent

contraband or evidence of a crime.

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d. If the search determines that a digital device
does not contain any data falling within the list of items to be
seized, the government will, as soon as is practicable, return
the device and delete or destroy all forensic copies thereof.

e. If the search determines that a digital device
does contain data falling within the list of items to be seized,
the government may make and retain copies of such data, and may
access such data at any time.

E. If the search determines that a digital device is
(1) itself an item to be seized and/or (2) contains data falling
within the list of other items to be seized, the government may
retain the digital device and any forensic copies of the digital
device, but may not access data falling outside the scope of the
other items to be seized (after the time for searching the
device has expired) absent further court order.

g. The government may also retain a digital device
if the government, prior to the end of the search period,
obtains an order from the Court authorizing retention of the
device (or while an application for such an order is pending),
including in circumstances where the government has not been
able to fully search a device because the device or files
contained therein is/are encrypted.

h. After the completion of the search of the digital
devices, the sovecnment shall not access digital data falling
outside the scope of the items to be seized absent further order

of the Court.

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5. In order to search for data capable of being read or
interpreted by a digital device, law enforcement personnel are
authorized to seize the following items:

a. Any digital device capable of being used to
commit, further, or store evidence of the offense(s) listed
above;

b. Any equipment used to facilitate the
transmission, creation, display, encoding, or storage of digital
data;

c. Any magnetic, electronic, or optical storage
device capable of storing digital data;

d. Any documentation, operating logs, or reference
manuals regarding the operation of the digital device or
software used in the digital device;

e. Any applications, utility programs, compilers,
interpreters, or other software used to facilitate direct or
indirect communication with the digital device;

£. Any physical keys, encryption devices, dongles,
or similar physical items that are necessary to gain access to
the digital device or data stored on the digital device; and

g. Any passwords, password files, biometric keys,
test keys, encryption codes, or other information necessary to
access the digital device or data stored on the digital device.

6. During the execution of this search warrant, law
enforcement is permitted to: (1) depress Maria Acevedo’s thumb
and/or fingers onto the fingerprint sensor of the device (only

when the device has such a sensor), and direct which specific

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finger(s) and/or thumb(s) shall be depressed; and (2) hold the
device in front of Maria Acevedo’s face with her eyes open to
activate the facial-, iris-, or retina-recognition feature, in
order to gain access to the contents of any such device. In
depressing a person’s thumb or finger onto a device and in
holding a device in front of a person’s face, law enforcement
may not use excessive force, as defined in Graham v. Connor, 490
U.S. 386 (1989); specifically, law enforcement may use no more
than objectively reasonable force in light of the facts and
circumstances confronting them.

7. The special procedures relating to digital devices
found in this warrant govern only the search of digital devices
pursuant to the authority conferred by this warrant and do not
apply to any search of digital devices pursuant to any other

court order.

 
